
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-193-
CV



IN RE STEPHAN BOLTON	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM
 
OPINION
(footnote: 1)
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The court has considered relator's petition for writ of habeas corpus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of habeas corpus is denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL B
: DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED June 25, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




